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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

THOMAS J. MURRER, individually and                    )
on behalf of all others similarly situated,           )
                                                      )
         Plaintiff,                                   )
                                                      )
v.                                                    )       Case No. 3:24-cv-00049
                                                      )
WELLS FARGO BANK, N.A.                        ,       )
                                                      )
                                                      )
                                                      )
         Defendants.                                  )


        WELLS FARGO BANK, N.A.’S CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1(a) and Local Rule 7.1, Defendant Wells

Fargo Bank, N.A. states that:

         1.      Wells Fargo Bank, N.A. is a national banking association organized under the laws

of the United States, and is a wholly-owned indirect subsidiary of Wells Fargo & Company.

         2.      WFC Holdings, LLC is the parent company of Wells Fargo Bank, N.A., and Wells

Fargo & Company is the parent corporation of WFC Holdings, LLC.

         3.      Wells Fargo & Company (WFC) is a publicly-traded company. Based on public

filings, we are not currently aware of any 10% or greater WFC shareholders.

         4.      Wells Fargo’s main office is located in South Dakota.

         These representations are made to enable the Court to evaluate possible disqualification or

recusal.

Dated: February 13, 2024                              Respectfully submitted,

                                                      /s/ Katherine E. Lehnen
                                                      Katherine E. Lehnen (VSB No. 92357)
                                                      McGuireWoods LLP
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                               CERTIFICATE OF SERVICE

       I certify that on February 13, 2024, I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing to all

counsel of record.



                                                    /s/ Katherine E. Lehnen
                                                    Katherine E. Lehnen

                                                    Counsel for Defendant Wells Fargo Bank,
                                                    N.A.




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